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                       Exhibit A
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                                           1984




                                                 Immigration Judge: COMANS, JAMEE 04/25/2025
Appeal:       Department of Homeland Security:       waived         reserved
              Respondent:                            waived         reserved
Appeal Due:


                                      Certificate of Service
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Respondent Name : KHALIL, MAHMOUD | A-Number :
Riders:
Date: 04/25/2025 By: Rowe, Katie, Court Staff
